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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BRIAN HARRIS                                                  CIVIL ACTION
                       Plaintiff,
        v.

SAINT JOSEPH'S UNIVERSITY, et al.                            NO. 13-3937
                Defendants.


                                                ORDER

        AND NOW, this 25th day ofNovember, 2014, upon consideration of: (1...u-u""'"'"'

Defendant, Saint Joseph's University ("SJU"), to Dismiss Counts I and II of Plaintiffs Second

Amended Complaint ("SAC") (ECF Document 66), 1 Plaintiffs opposition thereto (Doc. 74), and

SJU' s reply brief (Doc. 79); (2) Plaintiffs Motion to Dismiss Counts II and III of the

Counterclaim of Defendant, Jane Doe, and to Strike "Impertinent" Material from Doe's Answer

to Plaintiffs SAC (Doc. 80), Defendant Doe's opposition thereto (Doc. 88), and Plaintiffs reply

(Docs. 92); and (3) SJU's Motion to Dismiss Crossclaim of Defendant Doe (Doc. 82), and

Defendant Doe's opposition thereto (Doc. 89), it is hereby ORDERED that:

        1. Defendant SJU's Motion to Dismiss Counts I and II of Plaintiffs Second Amended

Complaint (Doc. 66) is GRANTED IN PART and DENIED IN PART:



        Dismissal under Rule 12{b)(6) is proper where the Amended Complaint fails to state a
claim upon which relief may be granted, such as where the plaintiff is unable to plead "enough facts to state a
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claim to relief that is plausible on its face." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). ThENTE
plausibility standard "asks for more than a sheer possibility that a defendant has acted unlawfully." Ashcroft v.
Iqbal, 556 U.S. 662, 678 (2009). Conclusory allegations are insufficient to survive a motion to dismiss. s~m~6 2014
v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). The Court must consider only those facts alleged in 'the
Complaint and accept all of those allegations as true. Wiest v. Lynch, 2014 WL 1490250, *8 (E.D. Pa. 2MA~Gf COURT
ALA, Inc. v. CCAIR, Inc., 29 F.3d 855, 859 (3d "Cir. 1994)). However, the Court "need not accept as true
unsupported conclusions and unwarranted inferences," see id. (citing Doug Grant, Inc. v. Greate Bay Casino Corp.,
232 F.3d 173, 183-84 {3d Cir. 2000) (citations and internal quotation marks omitted)), and "the tenet that a court
must accept as true all of the allegations contained in a complaint is inapplicable to legal conclusions," see Iqbal,
556 U.S. at 678.

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                (A) Insofar as Sm's motion (Doc. 66) requests dismissal of Count I of

Plaintiff's Second Amended Complaint (Breach of Contract), Sm's motion is GRANTED, and
                                               2
this claim is DISMISSED with prejudice;
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                (B) Defendants' motion (Doc. 66) is otherwise DENIED;

        2. Plaintiff's Motion to Dismiss Counts II and III of Defendant Doe's Counterclaim and

to Strike "Impertinent" Material from Doe's Answer to Plaintiff's SAC (Doc. 80) is GRANTED

IN PART and DENIED IN PART:




2
         In the SAC (Doc. 61 ), Plaintiff fails to correct the deficiencies in the claim for breach of contract
which this Court pointed out when it granted Plaintiff leave to amend his Amended Complaint. See Mem.
& Order ("M&O") filed 5/13/14 (Docs. 55, 56), at 4, 6-7. For example, while the SAC alleges that 2 of
the 5 panel members failed to "visualize[]" witnesses at plaintiff's second hearing, see SAC~ 90, the
SAC fails to point to any provision in the Handbook (nor does there appear to be one) which required
the panel members to "visualize[]" witnesses at the second hearing in evaluating the information and
considering credibility to determine if the community standards were violated. See id.~~ 88-91; see, e.g.,
Hart v. Univ. of Scranton, 2012 WL 1057383, *3 (M.D. Pa. 2012) (citing Vurimindi v. Fuqua School of
Business, 435 F. App'x 129, 133 (3d Cir. 2011)) ("[plaintiff] has not identified any 'specific identifiable
promise that the [University] failed to honor'"). Furthermore, the SAC fails to point to any particular
provision in the Handbook (nor does there appear to be one) that actually required SJU to respond to
plaintiff's appeal ''within five (5) business days of the appeal request." See SAC~ 95. Since there has
been a "repeated failure to cure deficiencies," and since it appears leave to amend the SAC would be
futile, Count I of the SAC is dismissed with prejudice. See, e.g., Citizens Bank ofPa. v. Reimbursement
Tech., Inc., 2014 WL 2738220, *9 (E.D. Pa. 2014) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)
(setting forth reasons for denial ofleave to amend CompJaint, including repeated failure to cure
deficiencies and futility)); Id. (citing Stone v. N.J. Admin. Office of the Courts, 557 F. App'x 151, 155 (3d
Cir. 2014)) (denying leave to amend on basis that amendment would be futile).
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         Count II of Plaintiff's SAC alleges a claim of gender discrimination in violation of Title IX of the
Education Act Amendments of 1972, 20 U.S.C. § 1681 et seq. Specifically, Plaintiff alleges that SJU's
gender discrimination led to a flawed outcome in the proceedings. See SAC~ 113. In making this claim,
Plaintiff must allege facts sufficient to make a plausible claim that ''the hearing was flawed due to his
gender." See Wells v. Xavier Univ., 7 F. Supp.3d 746, 751 (S.D. Ohio 2014) (citing Yusufv. Vassar
Coll., 35 F.3d 709, 715 (2d Cir. 1994)) (emph. added). The SAC alleges that on Jan. 15, 2013, D.S., the
head of SJU' s ethics department and a member of the Community Standards Board, stated to Plaintiff's
father that SJU had "adopted a policy favoring female accusers as SJU was concerned about 'Title IX'
charges by female students." See SAC ~ 83. The SAC further alleges that this policy was a motivating
factor behind the erroneous findings against plaintiff. Id. Plaintiff also asserts in his pleading that "male
students at SJU, such as [plaintiff], are discriminated against solely on the bases of sex and are invariably
found guilty, regardless of the evidence, or lack thereof." Id. at 110. Allegations such as statements by
members of the disciplinary tribunal or pertinent university officials are sufficient at this stage of the
proceedings to support a Title IX claim. See Yusuf, 35 I,1.3d at 715.

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               (A) ln:;ofal: as Plaintiffs motion (Doc. 80) requests dismissal of Count Ill of

                                                                1 ·     ("IICR")) Plaintiffs
Doe's Counterclaim (Intentional Interference with Contractual Re at1ons          ,

motion (Doc. 80) is GRANTED,4 and this claim is DISMISSED without prejudice to filing an

Amended Counterclaim,s if Defendant Doe can do           ~o under the confines of Fed. R. Civ. P. l l(b),
within twenty (20) days of the filing of this Memorandum and Order. Otherwise, these claims

are dismissed with prejudice;
              (B) Insofar as Plaintiffs motion (Doc. 80) requests dismissal of Count II of Doe's

 Counterclaim (Intentional Infliction of Emotional D.istress ("IIED")), Plaintiffs motion (Doc.

                  6
 80) is DENIED;    •

               (C) Insofar as Plaintiffs motion (Doc. 80) requests the Court to strike
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 "impertinent" material from Doe's Answer, Plaintiffs motion is DENIED;



 4        In order to plead an IICR claim, the following elements must be pled by Defendant Doe in this
 case: (1) the existence of a contractual relation between the complainant (Doe) and a third party (SJU);
 (2) purposeful action on the part of Plaintiff, specifically intended to harm the existing relation; (3) the
 absence of privilege or justification on the part of Plaintiff; and (4) the occasioning of actual legal damage
 as a result of Plaintiffs conduct. Remick v. Manfredy, 238 F.3d 248, 263 (3d Cir. 2001) (citing Pelagatti
 v. Cohen, 536 A.2d 1337, 1343 (Pa. Super. 1987)). Under this claim, Defendant Doe must allege, among
 other things, that Plaintiff induced or caused the third party (SJU) not to perform, and Defendant Doe
 must suffer damages as a result of SJU's non-performance. See Central Transp., LLC v. Atlas Towing,
 Inc., 884 F. Supp. 2d 207, 213 (E.D. Pa. 2012) (citing Pennsylvania caselaw). Count III of Defendant
 Doe's Counterclaim, see Def. Doe's Countercl. ,ii 77-93 (IICR), does not allege, among other things, that
 Plaintiff purposely caused SJU not to perform the contract with Defendant Doe. See, e.g., id Therefore,
 Defendant Doe's IICR claim against Plaintiff is dismissed.

          Fed. R. Civ. P. 15(a) governs amendment of pleadings, including counterclaims and crossclaims.
 See, e.g., Fort Washington Res., Inc. v. Tannen, 153 F.R.D. 565, 566 (E.D. Pa. 1994); Rainbow Trucking,
 Inc. v. Ennia Ins. Co., 88 F.R.D. 596, 597 (E.D. Pa. 1980).
 6
          This Court has previously discussed what is required to successfully plead an IIED claim. See
 M&O filed 5/13/14 (Doc. 55), at 20-23. Count II of Defendant Doe's Counterclaim, see Def. Doe's
 Countercl. iii! 61-76, alleges outrageous conduct which intentionally or recklessly caused severe
 emotional distress to Defendant Doe necessitating medical and psychiatric treatment. See, e.g., Kabrick v.
 Stevens, 2014 WL 4914186, *8 (M.D. Pa. 2014); Jordan v. City of Phila., 66 F. Supp. 2d 638, 642 (E.D.
 Pa._ 1~99). Defendant Doe has sufficiently pled a claim ofIIED as a result of being sexually assaulted by
 Plamtiff, and her claim survives at this stage of the proceedings. Id ~ 65.


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            3. SJU's Motion to Dismiss Defendant Doe's Crossclaim (Doc. 82) is GRANTED,s

and the Crossclaim is DISMISSED without prejudice to Doe filing an Amended Crossclaim if

she can do so under the confines of Fed. R. Civ. P. l l(b), within twenty (20) days of the filing of

this Order; otherwise, this claim is dismissed with prejudice.



                                                          BY THE COURT:




                                                          L.FELI~~
                                                          United States District Judge

 7
         Plaintiff moves to strike Defendant Doe's references to usage by Plaintiff's counsel at oral
argument of the word "cuddle," see Answer to Pl.'s SAC~~ 21, ~3. On~ m?tion t? strike, the "court may
strike from a pleading an insufficient defense or any redundant, immatenal, impertment, or scandalous
matter." Fed. R. Civ. P. 12(f). The purpose of this motion "is to clean up the pleadings, streamline
litigation, and avoid unnecessary forays into immaterial matters." Mcinerney v. Moyer Lumber &
Hardware, Inc., 244 F. Supp. 2d 393, 402 (E.D. Pa. 2002). Motions to strike are not favored and
generally will be denied "unless the allegations have no possible relation to the controversy." Id Indeed,
striking some or all of a pleading is considered a "drastic remedy," and courts possess "considerable
discretion in disposing of a motion to strike under Rule 12(f)." Tennis v. Ford Motor Co., 730 F. Supp.
2d 437, 443 (W.D. Pa. 2010). Here, among other things, it cannot properly be said that the challenged
allegations "have no possible relation to the controversy,'' and the Court will decline Plaintiffs invitation
to grant him the "drastic remedy" of striking portions of Defendant Doe's pleading under Rule 12(f) at
this stage of the proceedings.                             ·
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           Doe's Crossclaim against SJU alleges that "if the Plaintiff sustained damages and/or losses as
 alleged in the [SAC], the damages or losses were caused partially or solely by the negligence,
 carelessness, breach of contract, or other liability producing conduct of co-defendant sru, who is solely
 liable to the Plaintiff and/or severally liable and/or liable over to Doe." See Doe's Countercl., 2. Doe
 alleges that "[i]f Doe is found liable to the Plaintiff for all or part of such damages and/or losses the
 Plaintiff may have sustained ... then co-defendant SJU is liable over to Doe by way of contribution
 and/or indemnity, contractual or otherwise." Id~ 3. Pliiintiff's only remaining claims against Defendant
 Doe are defamation (Count IV - against all defendants) and IICR (Count V - against Defendant Doe
 only). See SAC iii! 127-153. A co-defendant cannot seek indemnity or contribution when the defendants'
 bases of liability to the plaintiff are separate and distinct from each other. Kirschbaum v. WRGSB Assoc.,
 243 F.3d 145, 156 (3d Cir. 2001). Here, Plaintiff's respective claims against SJU and Defendant Doe are
 based on alleged separate and distinct conduct on the part of the co-defendants. Therefore, Defendant
 Doe is not entitled to make a claim for indemnity or contribution from SW. Furthermore, the
 "liability[-]producing conduct of co-defendant SJU" to which Doe refers, i.e., "negligence, carelessness,
and ~reach of contract,'' see Doe's Countercl., 2, are claims which either are not alleged in the SAC
(negligence, carelessness) or no longer remain in light of SIU' s motion to dismiss (breach of contract).


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